
665 S.E.2d 741 (2008)
In the Matter of the ESTATE of Robert Lee DUNN, Deceased.
appealed by Shannon M. Dunn.
No. 10P08.
Supreme Court of North Carolina.
August 26, 2008.
Sandra Herring, Graham, for Shannon Dunn.
David Krall, for Timothy Dunn.

ORDER
Upon consideration of the petition filed on the 8th day of January 2008 by Propounder (Sandra Herring) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
